Case 1:25-cr-00123-AJT    Document 5-2     Filed 05/05/25   Page 1 of 4 PageID# 144




                         ATTACHMENT B




                                     B-1
Case 1:25-cr-00123-AJT        Document 5-2          Filed 05/05/25      Page 2 of 4 PageID# 145




  CERTIFICATE OF CORPORATE RESOLUTIONS OF THE BOARD OF DIRECTORS
                           OF CREDIT SUISSE SERVICES AG


       A copy of the executed Certificate of Corporate Resolutions is attached below.




                                              B-2
Case 1:25-cr-00123-AJT          Document 5-2          Filed 05/05/25       Page 3 of 4 PageID# 146




         CERTIFICATE OF CORPORATE RESOLUTIONS OF THE BOARD OF
                     DIRECTORS OF CREDIT SUISSE SERVICES AG


         At a duly held board meeting on April 25,2025, the Board of Directors of Credit Suisse
  Services AG (“CSSAG”) resolved as follows:
        WHEREAS, CSSAG and its Affiliates (including UBS Group AG, UBS AG, and
  UBS Business Solutions AG), through legal counsel, have been engaged in discussions with
  the United States Department of Justice, Tax Division, and the United States Attorney’s
  Office for the Eastern District of Virginia (collectively, the “Offices”) in connection with
  their investigation into potential criminal violations related to U.S. accounts banking at Credit
  Suisse AG and related entities in Switzerland (the “Offices’ Investigation”);
          WHEREAS, in order to resolve such discussions, it is proposed that CSSAG enter
  into a Plea Agreement with the Offices;
         WHEREAS, CSSAG’s internal and external legal counsel have advised the Board of
  Directors of CSSAG’s rights, possible defenses, and the consequences of entering into such
  agreement with the Office;
         This Board hereby RESOLVES that:
  1.     Credit Suisse Services AG (i) acknowledges the filing of the one-count Information
         charging CSSAG with conspiring to commit offenses against the United States, to wit,
         violations of Title 26, United States Code, Section 7206(2), the aiding, assisting,
         procuring, counseling, and advising of the preparation and presentation of false
         income tax returns to the Internal Revenue Service of the Treasury Department, in
         violation of Title 18, United States Code, Section 371; (ii) waives indictment on such
         charges and agrees to enters into the Plea Agreement with the Offices; and (iii) agrees
         to pay the total amount set forth in Paragraph 7 of the Plea Agreement and to execute
         the obligations described therein;
  2.     The Managing Director, Head of Americas Litigation, Jaclyn Barnao, Managing
         Director, Americas GC, Patrick Shilling, and/or their respective delegates, acting
         singly, hereby are authorized on behalf of CSSAG to execute the Plea Agreement
         substantially in such form as reviewed by this Board of Directors at this meeting with
         such changes as the Managing Director, Head of Americas Litigation, Jaclyn Barnao,
         Managing Director, Americas GC, Patrick Shilling, and/or their respective delegates,
         acting singly, may approve;
  3.     The Board hereby authorizes, empowers, and directs the Managing Director, Head of
         Americas Litigation, Jaclyn Barnao, Managing Director, Americas GC, Patrick
         Shilling, and/or their respective delegates, acting singly, to take any and all actions as
         may be necessary or appropriate, and to approve and execute the forms, terms or
         provisions of any agreement or other documents as may be necessary or appropriate
         to carry out and effectuate the purpose and intent of the foregoing resolutions, and to
         take any appropriate actions in connection with the Deferred Prosecution Agreement
         entered into between Credit Suisse Group AG and the United States Attorney’s Office
         for the Eastern District of New York or the application to the Securities and Exchange
         Commission for a waiver under Section 9(a) of the Investment Company Act of 1940;
         and

  4.     All of the actions of the Managing Director, Head of Americas Litigation, Jaclyn Barnao,
         and Managing Director, Americas GC, Patrick Shilling, and/or their respective delegates
         which actions would have been authorized by the foregoing resolutions except that
                                                B-3
Case 1:25-cr-00123-AJT         Document 5-2         Filed 05/05/25       Page 4 of 4 PageID# 147




             such actions were taken prior to the adoption of such resolutions, are hereby severally
             ratified, confirmed, approved and adopted as actions on behalf of the CSSAG.


     1 hereby certify that the above is a true and accurate copy of the resolutions of the Board of
     the CSSAG passed on 25 April, 2025.




      By:                                              Dated: 30 April, 2025
            Lutz Haneforth
            Managing Director
            Office of the Company Secretary
            Credit Suisse Services AG




                                                      B-4
